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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )                  8:04CR511
                                             )
             v.                              )
                                             )                    ORDER
JAMEL A. PAYNE                               )
BRANDON J. CURTIS                            )
DEJUAN J. LEONARD                            )
                                             )
                    Defendants.


      IT IS ORDERED that, in the interest of judicial economy, this case is reassigned

to District Judge Joseph F. Bataillon for disposition and remains assigned to Magistrate

Judge Thomas D. Thalken for judicial supervision and processing of all pretrial matters.

      DATED this 25th day of April, 2005.

                                            BY THE COURT:



                                            Joseph F. Bataillon
                                            JOSEPH F. BATAILLON
                                            UNITED STATES DISTRICT JUDGE
